         Case 2:19-cv-00140-LGW-BWC Document 3 Filed 11/13/19 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                               OFFICE OF THE CLERK
                                    P.O. BOX 1636
                             BRUNSWICK, GEORGIA 31521


Scott L. Poff
Clerk

RE:     Ruthie Lee v. Select Portfolio Servicing, Inc.
       __________________________________________________________________


                    REMOVAL NOTICE TO ALL COUNSEL OF RECORD

Take notice that the above-styled case was removed to the Southern District of Georgia,
 Brunswick
_____________                  Superior Court of Glynn County, Georgia
              Division, from: __________________________________________________
                                                   2:19-cv-140
The Civil Action Number assigned to this case is: ________________. The case was filed and
              11/13/2019
docketed on: ________________                            Judge Lisa Godbey Wood
                              and has been assigned to: _____________________________.


       ALL PARTIES ARE NOTIFIED TO RE-FILE ANY PENDING MOTIONS (PREVIOUSLY
FILED IN STATE COURT), AND RESPONSES, WITHIN FOURTEEN (14) DAYS OF THE DATE
OF THIS NOTICE. THIS COURT WILL NOT SUA SPONTE TAKE UP MOTIONS FILED PRIOR
TO REMOVAL DATE.


       PLAINTIFF’S COUNSEL INTENDING TO APPEAR IN THE REFERENCED
MATTER MUST ENTER A NOTICE OF APPEARANCE OR A MOTION FOR ADMISSION
PRO HAC VICE NO LATER THAN TEN (10) DAYS AFTER THE ISSUANCE OF THIS
NOTICE. PLAINTIFF’S COUNSEL WHO DOES NOT INTEND TO REPRESENT
PLAINTIFF IN THIS MATTER MUST NOTIFY THE CLIENT AND FILE A NOTICE OF
COMPLIANCE (AND INCLUDE THE CLIENT’S ADDRESS) WITHIN THE SAME TEN (10)
DAY PERIOD.


DATE: 11/13/2019


cc: Bret J. Chaness                                       SCOTT L. POFF, CLERK
    W. Douglas Adams - via email

                                                               s/Candy Asbell
                                                          BY: ______________________________
                                                                  Deputy Clerk
